        Case 1:18-cv-00158-CKK Document 22-2 Filed 03/01/19 Page 1 of 7




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



    PUBLIC EMPLOYEES FOR ENVIRONMENTAL
    RESPONSIBILITY,                                                Civil Action No. 18-cv-158 (CKK)
         Plaintiff,

         v.

    DEPARTMENT OF HOMELAND SECURITY,

         Defendant.


                        DECLARATION OF LEILONI STAINSBY

       I, Leiloni Stainsby, hereby declare, pursuant to 28 U.S.C. § 1746, the following to be true

and correct:

       1.      I am the Acting Director for the National Preparedness Directorate, Federal

Emergency Management Agency (“FEMA”), United States Department of Homeland Security

(“DHS”). I have held this position since July 2018. In this capacity, I am responsible for the

development and delivery of national risk and capability assessments. I have been with the

Department since November 2011.

       2.      I make this declaration based on my personal knowledge of FEMA’s process for

developing the Strategic National Risk Assessment documents (“SNRA Documents”). 1 The




1
 The SNRA Documents that were redacted in part or in full in response to NPR’s Freedom of
Information Act request are the SNRA Summary of Findings (November 2015); Presidential
Policy Directive/PPD-8 Refresh, SNRA Findings Review (May 29, 2015); SNRA Summary of
Findings (May 2015); SNRA Terms of Reference; SNRA 2015 Technical Appendix (May 2015);
SNRA 2011 Supplement: Unclassified Documentation of Findings; and the SNRA Working
Papers (May 2015).
          Case 1:18-cv-00158-CKK Document 22-2 Filed 03/01/19 Page 2 of 7




purpose of this declaration is to provide information concerning the drafting process of the SNRA

Documents.

                                                The SNRA Documents

        3.       The 2015 draft SNRA Documents were developed by FEMA’s National Integration

Center (NIC), which develops guidance and tools to assist communities in tackling their unique

preparedness challenges and coordinates the adoption and implementation of a common

incident management platform for emergency responders and officials. The NIC is a division

of FEMA’s National Preparedness Directorate (NPD), an organizational component tasked with

helping people and communities become more resilient by developing the capabilities

needed to prevent, protect against, respond to, recover from, and mitigate against all threats

and hazards. NPD provides guidance, programs, and processes to empower people and the

communities they live in to be prepared for any hazard. The NIC intended the 2015 SRNA

Documents to be the risk-based analytic foundation of the National Preparedness Goal.

        4.       In April of 2015, the NIC forwarded the SNRA Documents to several offices 2

throughout FEMA for review, including my office, the National Preparedness Assessment

Division. To my knowledge, the NIC did not send the SNRA Documents through the formal

concurrence process and NPD leadership did not approve them. Without review and concurrence,

the SNRA Documents were never finalized or publicly released.




2
 FEMA’s Office of External Affairs, Office of Chief Counsel, National Preparedness Directorate, and Office of
Response and Recovery.

                                                         2
        Case 1:18-cv-00158-CKK Document 22-2 Filed 03/01/19 Page 3 of 7




SNRA Summary of Findings (November 2015)

       5.      The NIC created this document for the purpose of summarizing the 2015 findings

for public dissemination, in a product similar to the seven-page overview of the first SNRA

published in December 2011.

       6.      This document is pre-decisional because, to my knowledge, the NIC did not send

it through the formal concurrence process, and NPD leadership did not approve it. This document

is deliberative because it contains opinions and recommendations on the various potential threats

and hazards facing the nation. The deliberative process privilege was used to withhold source

information, technical data, threats, hazards, analyses, interpretations, conclusions, and

information on previously-released threats and hazards that have been updated in the 2015 SNRA

Summary of Findings. This document is a draft and didn’t complete the review process in order

to be finalized. This document contains factual information that is so entangled with the analyses

and conclusions that release would reveal specific threats and hazards which are pre-decisional

and part of the deliberative process, and may not reflect FEMA’s current position regarding the

risks and their impacts on the United States. Disclosure of this deliberative and pre-decisional

information would discourage the expression of candid opinions and inhibit the free and frank

exchange of information among agency personnel.

Presidential Policy Directive/PPD-8 Refresh, SNRA Findings Review (May 29, 2015)

       7.      The NIC created this document for the purpose of illuminating the differences

between the 2011 and 2015 SNRAs, updating the scope, and introducing new threats and analysis.

       8.      This document is pre-decisional because, to my knowledge, the NIC did not send

it through the formal concurrence process, and NPD leadership did not approve it. This document

is deliberative because it contains opinions and recommendations on the various potential threats



                                                3
        Case 1:18-cv-00158-CKK Document 22-2 Filed 03/01/19 Page 4 of 7




and hazards facing the nation. This document contains data and factual information that is so

entangled with the analyses and conclusions that release would reveal specific threats and hazards

which are pre-decisional and part of the deliberative process, and may not reflect FEMA’s current

position regarding the risks and their impacts on the United States. Disclosure of this deliberative

and pre-decisional information would discourage the expression of candid opinions and inhibit the

free and frank exchange of information among agency personnel.

SNRA Summary of Findings (May 2015)

       9.      The NIC created this document for the purpose of summarizing the 2015 findings

for public dissemination, in a product similar to the seven-page overview of the first SNRA

published in December 2011.

       10.     This document is pre-decisional because, to my knowledge, the NIC did not send

it through the formal concurrence process, and NPD leadership did not approve it. This document

is deliberative because it contains opinions and recommendations on the various potential threats

and hazards facing the nation. The deliberative process privilege was used to withhold source

information, technical data, threats, hazards, analyses, interpretations, conclusions, and

information on previously-released threats and hazards that have been updated in the 2015 SNRA

Summary of Findings. This document is a draft and didn’t complete the review process in order

to be finalized. This document contains factual information that is so entangled with the analyses

and conclusions that release would reveal specific threats and hazards which are pre-decisional

and part of the deliberative process, and may not reflect FEMA’s current position regarding the

risks and their impacts on the United States. Disclosure of this deliberative and pre-decisional

information would discourage the expression of candid opinions and inhibit the free and frank

exchange of information among agency personnel.



                                                 4
        Case 1:18-cv-00158-CKK Document 22-2 Filed 03/01/19 Page 5 of 7




SNRA Terms of Reference

       11.     The NIC created this document for the purpose of outlining the proposed approach

and methodology to developing the SNRA Documents.

       12.     This document is pre-decisional because, to my knowledge, the NIC did not send

it through the formal concurrence process, and NPD leadership did not approve it. This document

is deliberative because it contains opinions on the various potential threats and hazards facing the

nation. The deliberative process privilege was used to withhold threats, hazards, and explanatory

information that was updated for the draft 2015 SNRA. This document is a draft and didn’t

complete the review process in order to be finalized. Disclosure of this deliberative and pre-

decisional information would discourage the expression of candid opinions and inhibit the free and

frank exchange of information among agency personnel.

SNRA 2015 Technical Appendix (May 2015)

       13.     The NIC created this document to include the technical data and information

regarding the 2015 SNRA Documents. This document contains key findings, source information,

methodology, technical data, threats, hazards, analyses, interpretations, conclusions, information

on previously-released threats and hazards that were updated for the draft 2015 SNRA Documents,

as well as risk summary sheets for various threats and hazards. Each risk summary sheet contains

summarized versions of data, impacts, analyses, historical information, and sources.

       14.     This document is pre-decisional because, to my knowledge, the NIC did not send

it through the formal concurrence process, and NPD leadership did not approve it. This document

is deliberative because it contains opinions and recommendations on the various potential threats

and hazards facing the nation. This document contains data and factual information that is so

entangled with the analyses and conclusions that release would reveal specific threats and hazards



                                                 5
           Case 1:18-cv-00158-CKK Document 22-2 Filed 03/01/19 Page 6 of 7




which are pre-decisional and part of the deliberative process, and may not reflect FEMA’s current

position regarding the risks and their impacts on the United States. Disclosure of this deliberative

and pre-decisional information would discourage the expression of candid opinions and inhibit the

free and frank exchange of information among agency personnel.

SNRA 2011 Supplement: Unclassified Documentation of Findings

       15.      The NIC created this document as a supplement that examines errors and historical

documentation between the 2011 and 2015 SNRA Documents. This document contains key

findings, source information, methodology, technical data, threats, hazards, analyses,

interpretations, conclusions, information on previously-released threats and hazards that were

updated for the draft 2015 SNRA, as well as risk summary sheets for various threats and hazards.

Each risk summary sheet contains summarized versions of data, impacts, analyses, historical

information, and sources. The key findings examine and compare risks for their likelihood of

occurrence, potential impacts of threats and hazards, and analyze the uncertainty associated with

each risk. The appendices further discuss certain risks, contain calculations, and more data and

sources.

       16.      This document is pre-decisional because, to my knowledge, the NIC did not send

it through the formal concurrence process, and NPD leadership did not approve it. This document

is deliberative because it contains opinions and recommendations on the various potential threats

and hazards facing the nation. This document contains data and factual information that is so

entangled with the analyses and conclusions that release would reveal specific threats and hazards

which are pre-decisional and part of the deliberative process, and may not reflect FEMA’s current

position regarding the risks and their impacts on the United States. Disclosure of this deliberative




                                                 6
        Case 1:18-cv-00158-CKK Document 22-2 Filed 03/01/19 Page 7 of 7




and pre-decisional information would discourage the expression of candid opinions and inhibit the

free and frank exchange of information among agency personnel.

SNRA Working Papers (May 2015)

       17.     The NIC created this document to be the basis for many of the qualitatively

identified threats in hazards in the 2015 SNRA Documents, and for future updates to the SNRA.

It contains data and narratives of various threats, and their respective impacts.

       18.     This document is pre-decisional because, to my knowledge, the NIC did not send

it through the formal concurrence process, and NPD leadership did not approve it. This document

is deliberative because it contains opinions and recommendations on the various potential threats

and hazards facing the nation. This document contains data and factual information that is so

entangled with the analyses and conclusions that release would reveal specific threats and hazards

which are pre-decisional and part of the deliberative process, and may not reflect FEMA’s current

position regarding the risks and their impacts on the United States. Disclosure of this deliberative

and pre-decisional information would discourage the expression of candid opinions and inhibit the

free and frank exchange of information among agency personnel.

       I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 1st day of March 2019.

                                                      ______________________________
                                                            LEILONI STAINSBY




                                                  7
